Case 2:05-cV-02423-SHI\/|-tmp Document 2 Filed 06/10/05 Page 1 of 2 Page|D 1

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE
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June 10, 2005

ALL INTERESTED PARTIES OF RECORD

 

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RE: CI-]ERYL FOLLOWELL vs. GEORGE E. MlLLS
District Court Civil No. 05-2423-Ma/P

Bankruptcy No, 97-35255-L Adv. Proc. No. 04-00335

Docurnents in the above styled action have been transmitted to this office from the
bankruptcy court and docketed This action has been assigned to U.S. District Judge Samuel H.
Mays, Jr. and Magistrate Judge Tu M. Pharn as CASE N(). 05-2423-Ma/P.

Please use our CASE NO. 05-2423-Ma/P, and reference the bankruptcy numbers on all

pleadings and correspondence relating to this case. ORIGINAL and TWO COPIES of all
pleadings should be filed in this office.

Sincerely yours,

Robert R. Di Trolio, Clerl< of Court

By: we /@M;/j@§/

Deputy Clerk

CC§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02423 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

